          Case 1:23-cv-02076-EGB Document 33 Filed 03/18/24 Page 1 of 1




               In the United States Court of Federal Claims


CAPITAL TECHNOLOGY GROUP, LLC                                                         No. 23-2076C
          Plaintiff

and

METROIBR JV LLC                                                                       No. 23-2087C
         Plaintiff
v

THE UNITED STATES
          Defendant

v

IGNITEACTION LLC
          Intervenor-Defendant



         NOTICE OF FILING OF OFFICIAL SEALED TRANSCRIPT

        Notice is hereby given that an official transcript of proceedings held on March 12, 2024,
has been filed in the above-captioned matter. As this is a transcript of a sealed proceeding, the
transcript is available to case participants only and will remain sealed unless the judge orders
otherwise.

        This transcript will be made electronically available to the parties to this proceeding after
90 calendar days. If a party to the case would like to review the transcript before it is
electronically available, the party may purchase a copy from the official court reporter (at which
time the purchasing party will receive immediate electronic access to the transcript). Please
contact the Clerk’s Office at (202) 357-6406 for more information.




March 18, 2024                                                s/Anthony Curry
                                                              Deputy Clerk
